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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

Fynale Barnwell and Shavell Barnwell,)                        C/A No.: 3:23-cv-583-SAL
Individually, and as natural parents and
                                     )
Guardians of, M.B., a Minor Child,   )
                                     )
                     Plaintiffs,     )
                                     )
       v.                            )               MOTION TO BE RELIEVED
                                     )
Lexington School District One,       )
NICOLE LIVINGSTON, in her individual )
Capacity, and JACOB SMITH, in his    )
individual Capacity,                 )
                                     )
                                     )
                     Defendants.     )
___________________________________ )

       Pursuant to the Federal Rules of Civil Procedure, and the Local Civil Rules of this Court,
the undersigned Counsel hereby files this Motion to be Relieved. In support of this motion, the
undersigned Counsel states the following:
   1. On December 9, 2024, the parties reached a mediated settlement agreement that was
       reduced in writing and signed by all parties and their Counsel after an all-day mediation
       where all parties and their Counsel were physically present. Following the mediation, the
       parties’ mediator, Karl Folkens, Esquire, submitted the parties’ Alternative Dispute
       Resolution Tracking Form to the Court and notified the Court that a minor settlement
       approval hearing will be needed. Thereafter a settlement approval hearing was scheduled
       by this Court.
   2. In the days following the parties’ executing the settlement agreement, Plaintiffs Shavell
       Barnwell and Fynale Barnwell insisted on taking action that the undersigned Counsel
       respectfully deems repugnant and fundamentally disagrees. Further, the undersigned
       Counsel believes that as an Officer of the Court the course of action requested would result
       in a violation of the Rules of Professional Conduct.
   3. Counsel consulted with Plaintiffs and informed them of limitations on the requested course
       of action and explained the matter to Plaintiffs so they could make an informed decision.



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      Despite Counsel’s efforts, Plaintiffs Fynale Barnwell and Shavell Barnwell continued to
      insist on said their proposed course of action.
   4. Accordingly, the undersigned Counsel now seeks an Order from this Court relieving the
      undersigned as Counsel so that Plaintiffs Fynale Barnwell and Shavell Barnwell may act
      proceed as they deem fit.
   5. Counsel’s withdrawal can be accomplished without material adverse on the interests of
      Plaintiffs Fynale Barnwell and Shavell Barnwell and is in accordance with Rule 1.16 of the
      South Carolina Rules of Professional Conduct.
   6. Pursuant to the Local Civil Rules, Plaintiff Fynale Barnwell’s phone number is 803-378-
      9553 and Plaintiff Shavell Barnwell’s phone number is 803-318-2312. Their mailing
      address is 276 Loskin Ln., Lexington, SC 29073. A separate Attorney Certification will be
      filed contemporaneous with this filing.
   7. Additionally, Plaintiff’s will file a Notice of Lien with this Court for the time, labor, costs,
      and fees due consideration of his labor in this matter and in accordance with the contractual
      agreement between the undersigned and Plaintiffs.
   8. Accordingly, the undersigned requests that he be relieved as Counsel for the Plaintiffs in
      order to liberate Plaintiffs Fynale Barnwell and Shavell Barnwell to take the courses of
      action they personally deem fit at this juncture of the case.

                                                      s/ Tyler D. Bailey
                                                      Tyler D. Bailey, Esquire
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                                                      P.O. Box 532
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